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 1 JAMIE LYNN GALLIAN
   16222 Monterey Lane Unit 376
 2 Huntington Beach, CA 92649
   (714)321-3449
 3 jamiegallian@gmail.com
 4 IN PRO PER
 5
 6                              UNITED STATES BANKRUPTCY COURT
 7                 CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 8   In re                                               Case No. 8:21-bk-11710-SC
 9   JAMIE LYNN GALLIAN,                                 Hon. Scott C. Clarkson
10                   Debtor.                             Chapter 7
11                                                       AMENDED - ORDER DENYING
                                                         CHAPTER 7 TRUSTEE JEFFREY I
12                                                       GOLDEN’S APPLICATION OF THE
                                                         CHAPTER 7 TRUSTEE TO EMPLOY
13                                                       REAL ESTATE BROKER COLDWELL
                                                         BANKER REALTY AND AGENTS
14                                                       WILLIAM FRIEDMAN AND GREG
                                                         BINGHAM PURSUANT TO 11 U.S.C. §§
15                                                       327 AND 328; MEMORANDUM OF
                                                         POINTS AND AUTHORITIES; AND
16                                                       DECLARATIONS OF WILLIAM
                                                         FRIEDMAN AND GREG BINGHAM IN
17                                                       SUPPORT [DOC 162]
18                                                       HEARING DATE
                                                         Date: September 13, 2022
19                                                       Time: 11:00 a.m.
                                                         Ctrm: 5C VIA ZOOMGOV
20                                                       Address: 411 W. Fourth Street
                                                         Santa Ana, CA 92701
21
             TO THE HONORABLE SCOTT C. CLARKSON, UNITED STATES BANKRUPTCY
22
     JUDGE, AND ALL INTERESTED PARTIES:
23
             On July 28, 2022, Chapter 7 Trustee, Jeffrey I. Golden, (“Trustee”) filed “APPLICATION
24
     TO EMPLOY REAL ESTATE BROKER COLDWELL BANKER REALTY AND AGENTS
25
     WILLIAM FRIEDMAN AND GREG BINGHAM PURSUANT TO 11 U.S.C. §§ 327 AND 328;
26
     MEMORANDUM OF POINTS AND AUTHORITIES; AND DECLARATIONS OF WILLIAM
27
28                                                  1
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 1 FRIEDMAN AND GREG BINGHAM IN SUPPORT” [DOC 162]. The Motion was set for hearing
 2 on September 13, 2022, at 11:00 a.m. [DOC NO. 195]

 3
            On August 30, 2022, Jamie Lynn Gallian (“DEBTOR”) filed “OPPOSITION TO
 4
     APPLICATION OF THE CHAPTER 7 TRUSTEE TO EMPLOY REAL ESTATE BROKER
 5
     COLDEWELL BANKER REALTY AND AGENTS WILLIAM FRIEDMAN AND GREG
 6
     BINGHAM PURSUANT TO 11 U.S.C. §§327 AND 328; DOC 128; DECLARATION JAMIE
 7
     LYNN GALLIAN ISO OF OPPOSITION. (“OPPOSITION”) [DOC 208].
 8
            On September 7, 2022, Statement 218, The Huntington Beach Gables Homeowners
 9
     Association Joinder to Trustee’s Reply in Support of Application to Employ Real Estate Broker.
10
     [DOC 221].
11
            On September 13, 2022, at 11:00 a.m. the Court conducted a hearing on the Application of
12
     the Chapter 7 Trustee to Employ Real Estate Broker Coldwell Banker Realty and Agents William
13
     Friedman and Greg Bingham pursuant to 11 U.S.C. §§327 and 328.
14
            Before September 13, 2022, at 11:00 a.m., the Court published a tentative ruling. A true and
15
     correct copy of the Court’s tentative ruling for the September 13, 2022, hearing is attached as
16
     EXHIBIT 1.
17
            On September 13, 2022, at 11:00 a.m. the Court held a hearing on the Trustee’s Application.
18
     [DOC 162]. Appearances were as noted on the record.
19
            During the hearing, all parties were given an opportunity to be heard. The Court having read
20
     and considered the Trustee’s Application, argument presented by the Trustee’s Counsel, Eric Israel;
21
     argument presented by Jamie Lynn Gallian (“Debtor”) in support of Opposition to Trustee’s
22
     Application; and argument presented by Joinder Huntington Beach Gables Homeowners Association
23
     (“Gables HOA”) Attorney Robert Goe.
24
             Attorney Goe presented argument concerning debtors denied homestead exemption [DOC
25
     177], citing In re Schaefers, 623 B.R. 777 (B.A.P. 9th Cir. 2020) to the Court.
26
            The Honorable Scott C Clarkson addressed Attorney Goes’ argument and discussed a recent
27
     unpublished opinion by the Ninth District Court. See Footnote 1.
28
                                                          2
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 1         On August 31, 2022, The Ninth Circuit filed MEMORANDUM No. 20-60055.
 2         The relevant portion to the Debtor’s bankruptcy case at bar, page 3, of the Ninth Circuit
 3 Memorandum No. 60055……”the published decision of the Bankruptcy Appellate Panel Order of
 4 the bankruptcy court sustaining the objection to the claimed homestead exemption, In re Bernd
 5 Schaefers [Dkt. No. 143], Case No. 9:19-bk-11163-MB (Bank. C.D. Cal. Mar. 18, 2020) are
 6 VACATED”. EXHIBIT 2
 7         After all arguments were addressed by the Court, all other pleadings and papers filed in this
 8 case considered, and having heard the arguments made on the record during the September 13, 2022,
 9 hearing, the Court enters its order as follows:
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11
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17 _______________________
   Foot Note 1
18 Ninth Circuit Rule 36-3. Citation of Unpublished Dispositions or Orders
       Not Precedent. Unpublished dispositions and orders of this Court are not precedent, except when
19 (a) relevant under the doctrine of law of the case or rules of claim preclusion or issue preclusion.
       Citation of Unpublished Dispositions and Orders Issued on or after January 1, 2007.
20
       Unpublished dispositions and orders of this Court issued on or after January 1, 2007 may be cited
21 (b) to the courts of this circuit in accordance with FRAP 32.1.
       Citation of Unpublished Dispositions and Orders Issued before January 1, 2007.
22     Unpublished dispositions and orders of this Court issued before January 1, 2007 may not be cited
   (c)to the courts of this circuit, except in the following circumstances.
23 (i) They may be cited to this Court or to or by any other court in this circuit when relevant under the
24 doctrine of law of the case or rules of claim preclusion or issue preclusion.
   (ii) They may be cited to this Court or by any other courts in this circuit for factual purposes, such as
25 to show double jeopardy, sanctionable conduct, notice, entitlement to attorneys’ fees, or the
   existence of a related case.
26 (iii) They may be cited to this Court in a request to publish a disposition or order made pursuant to
   Circuit Rule 36-4, or in a petition for panel rehearing or rehearing en banc, in order to demonstrate
27 the existence of a conflict among opinions, dispositions, or orders.
28                                                        3
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 1        IT IS ORDERED that Chapter 7 Trustee’s Application to Employ Real Estate Broker
 2 Coldwell Banker Realty and Agents William Friedman and Greg Bingham pursuant to 11 U.S.C.

 3 §§327 and 328 is DENIED WITHOUT PREJUDICE.
 4                                          ###
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22        Date: September _____, 2022       _________________________________
                                            Scott C. Clarkson
23
                                            United States Bankruptcy Judge
24
25

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28                                                 4
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